                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                    3:03CR219

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                      ORDER
                                    )
ANEWA TIARI-EL                      )
____________________________________)

         This matter is before the court upon the defendant’s Motion for Bond Pending Appeal.
The government has opposed the motion.
         Defendant was convicted on June 10, 2005 following trial, and was sentenced on July 8,
2009 to five years imprisonment. On September 4, 2009, defendant filed a notice of appeal of the
judgment of conviction. She now seeks bond pending the resolution of that appeal pursuant to 18
U.S.C. § 3143(b).
         The presumption under Section 3143(b) is that a convicted person who has been
sentenced to a term of imprisonment should be detained during appeal. United States v.
Hamrick, 720 F.Supp. 66, 67 (W.D.N.C. 1989). The government argues, and the court agrees,
that defendant has failed to meet her burden under 18 U.S.C. § 3143(b) to prove by clear and
convincing evidence that her appeal either raises a substantial question of law or is likely to
result in the reversal of her conviction. Accordingly,
         IT IS THEREFORE ORDERED that defendant’s Motion for Bond Pending Appeal is
hereby DENIED.

                                               Signed: October 8, 2009




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